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Attorne s for Defendant
CMRE INANCIAL sER\/ICES, iNC.
UNITED sTATEs DISTRICT CoURT
soUrHERN DISTRICT oF CALIFoRNIA

LARRY L’l-U£UREUX, CASE NO. 13-cV-00059-IEG-BLM
Plaintiff,
vs. NOTICE OF SETTLEMENT
ICI\Il\€[:RE FINANCIAL SERVICES,

7

Defendant.

 

TO THE C()URT, PARTIES, AND THEIR ATTORNEYS OF RECORD
HEREIN:

PLEASE TAKE NOTICE that all parties in the above-entitled lawsuit have
agreed to settle the lawsuit in its entirety. The parties anticipate that they Will
complete the settlement, and that the parties Will file a Joint Motion to Dismiss the
entire action With prejudice, and dismiss Without prejudice Within 45 days from the

date of this Notice. The parties request that the Court take off calendar all

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future calendared dates. Each party shall bear its/his/their own costs and expenses

DATED: June 25, 2013

07376.00:195797

 

CARLSON & MESSER LLP

By: /s/ David J. Kaminski
Davl J. Kamlns 01
Stephen A. Watkins
Attorne s for Defendant
CMRE INANCIAL SERVICES, INC.

NOTICE OF Sl:l lLEMENT
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CERTIFICATE OF SERVICE

l hereby certify that on this 25th day of June, 2013, a true and accurate copy of the
foregoing NOTICE OF SETTLEMENT with the Clerk of Court using the ECF system which
will send notification of such filing to the following E-mail address(es):

tfriedman@AttorneysForConsumers.com

/s/David J. Kaminski
David J. Kaminski

NOTICE OF Shl 1LEMENT
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